Case 0:21-cv-62182-RS Document 1-2 Entered on FLSD Docket 10/21/2021 Page 1 of 3




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.

 UNITED STATES OF AMERICA,

                       Plaintiff,

 vs.

 APPROXIMATELY 919.30711258 ETHER COINS
 SEIZED FROM ETHEREUM WALLET ADDRESS
 0x71949d87258c4ca6827730c337f8090
 7d73c7800

 APPROXIMATELY 2.65995166 BITCOINS
 FORMERLY HELD IN BITCOIN WALLET ADDRESS
 16qq4DGd2R9vcK5xmV5nRQmoZn2WZVSYK1; AND

 ALL VIRTUAL CURRENCY SEIZED ON OR
 ABOUT JUNE 16, AND 19, 2017, AND FORMERLY
 HELD IN BITCOIN WALLET ADDRESS
 12EZr5x8mFpxS6ypNobhPXmyj4BbRkm6GW,
 INCLUDING, BUT NOT LIMITED TO,
 APPROXIMATELY 640.26804512 BITCOINS;
 APPROXIMATELY 640.2716098 BITCOIN CASH;
 APPROXIMATELY 640.2715428 BITCOIN GOLD;
 AND APPROXIMATELY 640.2716043 BITCOIN SV,

             Defendants In Rem.
 ______________________________________/
                               WARRANT OF ARREST IN REM
 TO:    FEDERAL BUREAU OF INVESTIGATION, INTERNAL REVENUE SERVICE,
        OR ANY OTHER AUTHORIZED FEDERAL LAW ENFORCEMENT OFFICER


        WHEREAS, on October 21, 2021 the United States of America filed a Verified

 Complaint for Forfeiture In Rem against the above-captioned defendant property; and

        WHEREAS, according to said Complaint, the defendant property is in the Government’s

 possession, custody or control; and
Case 0:21-cv-62182-RS Document 1-2 Entered on FLSD Docket 10/21/2021 Page 2 of 3




        WHEREAS, Supplemental Rule G(3)(b)(i) provides that “the clerk must issue a warrant

 to arrest the property if it is in the government=s possession, custody or control.”

        NOW THEREFORE, you are hereby commanded to take the defendant property into

 your possession for safe custody. If the character or situation of the defendant property is such

 that the taking of actual possession is impracticable, you shall execute this process by affixing a

 copy thereof to the property in a conspicuous place and by leaving a copy of the Complaint and

 process with the person having possession or his agent.

        YOU ARE FURTHER commanded to cite and admonish the owner and/or possessor of

 the defendant property and any person or firm known to claim any interest therein, to file, no later

 than 35 days from the date notice was sent, a Verified Claim in accordance with Rule G(5) of

 the Supplemental Rules for Certain Admiralty and Maritime Claims; to therewith or within twenty

 (20) days thereafter file an Answer or other responsive pleading to the Complaint, a copy of which

 Complaint you shall supply with this Warrant; to file the Claim and Answer or other responsive

 pleading with the Clerk of the Court, United States District Court, 299 East Broward Boulevard

 #108, Fort Lauderdale, FL 33301 and to send a copy of said Claim, Answer or responsive pleading,

 to Mitchell Hyman, Assistant United States Attorney 99 N.E. 4th Street, 7th Floor, Miami,

 Florida 33132; the Claim must identify the specific property claimed, identify the claimant and

 state the claimant’s interest in the property and be signed by the claimant under penalty of perjury,

 and that upon the failure of the owner, possessor or any party claiming an interest in the Defendant

 property to comply with Supplemental Rule G, the Defendant property may be forfeited to the

 United States by default and without further notice or hearing.



                                          [Intentionally Left Blank]
Case 0:21-cv-62182-RS Document 1-2 Entered on FLSD Docket 10/21/2021 Page 3 of 3




        AND YOU ARE FURTHER commanded to make due and prompt return of this Warrant

 to this Court upon its execution.

                                                   ANGELA E. NOBLE, CLERK
                                                   UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF FLORIDA



 DATED:                                      By:
                                                   DEPUTY CLERK


 cc: AUSA Mitchell Hyman
